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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON,
            Plaintiff,
                                                           Case No. 1:25-cv-00511
        v.

 U.S. DOGE SERVICE, et al.,
             Defendants.


                NOTICE AS TO DEFENDANT USDS
    CONCERNING ESTIMATE OF VOLUME OF RESPONSIVE RECORDS

       Pursuant to the Court’s Orders dated March 10, 2025 and March 19, 2025,

Defendant United States DOGE Service (USDS) provides this estimate of the volume of

records responsive to the Freedom of Information Act Request directed to it, as narrowed

in Attachment A to Plaintiff’s reply brief in support of their motion for a preliminary

injunction. USDS cautions that this estimate is preliminary, and that USDS has not yet

been able to conduct a review for responsiveness, and deduplication; and USDS maintains

its position that no records are subject to release under FOIA because USDS is not an

agency subject to FOIA. With those caveats, USDS provides the following preliminary

volume estimate: approximately 58,000 documents.


                                    Respectfully submitted,

                                    YAAKOV M. ROTH
                                    Acting Assistant Attorney General

                                    ELIZABETH J. SHAPIRO
                                    Deputy Branch Director, Federal Programs Branch

                                    /s/ Andrew M. Bernie
                                    Andrew M. Bernie
                                    Trial Attorney
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